ESTATE OF ALFRED D. KAUFMANN, RAYMOND M. KAUFMANN, EXECUTOR, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Kaufmann v. CommissionerDocket No. 10907.United States Board of Tax Appeals11 B.T.A. 412; 1928 BTA LEXIS 3821; April 3, 1928, Promulgated *3821  Value of estate's interest in two corporations determined.  S. Leo Ruslander, Esq., for the petitioner.  L. S. Pendleton, Esq., for the respondent.  ARUNDELL*412  This proceeding was brought for the redetermination of a deficiency of $1,961.76 in estate tax under the Revenue Act of 1921.  It is alleged that the respondent erred in increasing the valuation on the estate's one-half interest in the Kaufmann Realty Co. and Kaufmann Development Co. from $110,000 to $143,695.96.  *413  FINDINGS OF FACT.  At the time of the death on October 4, 1922, of Alfred D. Kaufmann, he and his brother Raymond M. Kaufmann, the executor, each owned a one-half interest in the Kaufmann Realty Co. and Kaufmann Development Co., Pennsylvania corporations, the former having been organized in 1913 and the latter in 1917.  Each had a capital of $5,000, consisting of 100 shares of a par value of $50.  The Kaufmann Realty Co. was engaged in the general real estate business and the Kaufmann Development Co. designed, constructed and financed buildings.  Neither company paid any dividends prior to October 4, 1922, although they had some profits.  No stock certificates*3822  were issued by the corporations for capital stock.  There was no change in the financial status of the corporations between October 4, 1922, and January 1, 1923.  The trial balance of the Kaufmann Realty Co. at January 1, 1923, showed a debit balance of $9,648.79 in nine accounts for rents advanced to clients and a balance of $82,807.02 in other accounts receivable, a total of $92,555.81, of which $10,466.56 was owing by Raymond M. Kaufmann, and $38,339.49 by the Kaufmann Development Co.  The trial balance of the Kaufmann Development Co. at the same date contained 45 so-called trade account debit balances aggregating $493,429.38.  These accounts represented, with a few exceptions, sums due for work done under cost-plus contracts for the construction of buildings.  Some of the amounts due were secured by second mortgages on buildings constructed for the mortgagor and others were unsecured.  At January 1, 1923, a number of the accounts, secured and unsecured, were overdue.  In a return made on February 28, 1923, by the appraiser appointed by the Register of Wills in and for Allegheny County, Pa., the one-half interest of the deceased in the two corporations was appraised at $110,000, *3823  as of October 4, 1922, for State inheritance tax purposes.  In connection with the determination of this value, the appraiser reduced the book value of all of the accounts receivable of the Realty Co., with the exception of the amount owing by Raymond M. Kaufmann, 5 per cent and some of the trade accounts receivable of the Development Co., 20 per cent, so that the accounts would reflect their fair market value.  Raymond M. Kaufmann, the surviving stockholder, to protect his endorsements on corporate paper and to avoid possible litigation with others having an interest in the estate, offered to buy the onehalf interest of the estate in the corporations on the basis of the amount owing to the deceased stockholder, as reflected by the corporate books, plus one-half of the surplus and capital stock.  In *414  determining the value on this basis, accounts receivable were to be accepted at their face value.  This proposition was accepted by other beneficiaries of the estate.  Accountants acceptable to all of the interested parties audited the books of the corporations the early part of January, 1923, as of January 1, 1923, and, under the terms agreed upon as a basis for the sale, *3824  determined the selling price to be $143,695.96, which amount the surviving stockholder paid to the estate on September 1, 1923, with interest.  The value of the interest of the estate in the two corporations was returned by the executor at $110,000.  On an audit of the return the respondent increased the amount to $143,695.96.  OPINION.  ARUNDELL: In determining the fair market value of the accounts receivable of the Kaufmann Realty Co., the State appraiser reduced the total of the items, less the amount of $10,466.56 due from Raymond M. Kaufmann, 5 per cent.  Many of these accounts were for rents advanced to owners of property being managed by the corporation and with one exception were unsecured.  Among the various accounts was one of $4,757.86, representing money invested in patents taken out for the Freemen Automatic Appliance Co.  As early as 1920 or 1921 it was known that the investment was a total loss unless the corporation succeeded in bringing about a consolidation with the Simmons Co., the holder of a prior and interfering patent.  It subsequently developed that the investment was worthless.  This valueless account is approximately $800 in excess of the reductions*3825  made in all of the items and clearly shows that the value of the accounts was not understated.  The deceased owned a one-half interest in the Kaufmann Development Co. and was a creditor thereof in the amount of $82,124.71.  The Kaufmann Development Co. not only erected buildings but generally financed the construction thereof for the owner.  By the terms of the contracts under which buildings were erected the corporation paid for the account of the owner the cost of all material and labor, and the owner made certain stipulated cash payments during the course of construction of the building and upon completion gave the corporation a second mortgage for the balance of the contract price, less the amount of the first mortgage.  Practically all of the items in the accounts receivable of the Kaufmann Development Co. represent money advanced under contracts during the course of the construction of buildings, principally residences, or sums due under second mortgages given by the property owner after the erection of the building.  None of the mortgages ran for a longer period than two years and at the time of the death of the deceased, many *415  of the motes given under the mortgages, *3826  as well as unsecured accounts, were overdue and some have not been paid up to this time.  In October, 1922, the market value in Pittsburgh of second mortgages of the type owned by the estate was not in excess of 80 per cent of their face amount.  The executor arrived at the fair market value of these accounts by reducing about two-thirds of them 20 per cent, or from $493,429.38 to $431,750.70.  We are satisfied from a careful consideration of all the evidence that the reductions made in the accounts receivable to determine their fair market value are reasonable and that the value of the interest of the deceased in the two corporations at October 4, 1922, was not in excess of $110,000.  Judgment will be entered on 10 days' notice, under Rule 50.